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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

   MICROSOFT CORPORATION,                                  No. 4:10-CV-3118
   a Washington corporation

                   Plaintiff,

              v.                                       NOTICE OF SERVICE OF
                                                      PLAINTIFF’S FIRST SET OF
   PANTHERPRO, INC., a Nebraska                             DISCOVERY
   corporation d/b/a Quickteq
   Computers; and KEVIN KNUDSON,
   an individual

                   Defendants.

         The undersigned hereby certifies that on February 3, 2011, Plaintiff served

Plaintiff’s First Set of Interrogatories and Requests for Production of Documents

on Defendants by sending the same by United States mail, postage prepaid, and

by email to Defendants’ counsel, Donald H. Bowman of Bowman and Krieger

Law Firm, 1045 Lincoln Mall, Suite 100, Lincoln, Nebraska 68508.

         Dated this 3rd day of February, 2011.

                                            MICROSOFT CORPORATION,
                                            a Washington corporation, Plaintiff.



                                    By:     /s/ Richard P. Jeffries
                                            Richard P. Jeffries, #20089
                                            CLINE WILLIAMS WRIGHT JOHNSON &
                                            OLDFATHER, L.L.P.
                                            One Pacific Place
                                            1125 South 103rd Street, Suite 600
                                            Omaha, Nebraska 68124
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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 3, 2011, I electronically filed the
foregoing document with the Clerk of the United States District Court using the
CM/ECF system, which sent notification of such filing to the following:

        Donald H. Bowman
        Bowman and Krieger Law Firm
        1045 Lincoln Mall, Suite 100
        Lincoln, NE 68508


                                            /s/ Richard P. Jeffries
                                            Richard P. Jeffries


4834-4672-4360, v. 1




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